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Case 3:19-cr-01112-GPC Document 55 Filed 10/19/20 PagelD.184 Page1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,

Plaintiff,
V.

BENJAMIN NAVARRETE,

Defendants.

 

 

 

 

Case No.: 19-CR-1112-GPC

ORDER AND JUDGMENT TO
DISMISS WITHOUT
PREJUDICE

Upon motion of the United States of America and good cause appearing,

IT IS HEREBY ORDERED that the Information in the above-entitled case be

dismissed without prejudice.
IT IS SO ORDERED.
DATED: October _/7__, 2020

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HONORABLE GONZALO P. CURIEL
United States District Judge

 
